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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION



UNITED STATES OF AMERICA


vs.                                     NO. 4:01CR00212-015 SWW


ANTONIO VERSHON RANDOLPH

                                        ORDER

       The above entitled cause came on for hearing on government’s motion

to revoke the supervised release previously granted this defendant in the

United States District Court for the Eastern District of Arkansas. Based

upon the statements of counsel and the admissions of defendant, the Court

found that defendant has violated the conditions of his supervised

release without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release

previously granted this defendant, be, and it is hereby, revoked granting

government’s      motion   [doc   #1024].    Defendant   shall   serve   a   term   of

imprisonment of TEN (10) MONTHS in the custody of the Bureau of Prisons.

If    defendant   is   eligible   and   if   appropriate   for   defendant,    it   is

recommended that defendant be incarcerated in FCI Memphis, Millington,

Tennessee.

       There will be NO supervised release to follow.

       Defendant is remanded to the custody of the U. S. Marshal Service.

       IT IS SO ORDERED this 17th day of December 2009.

                                                /s/Susan Webber Wright

                                                United States District Judge
